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COUNSEL FOR THE DEBTORS

                           UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

IN RE:                                                      §      CHAPTER 11
                                                            §
FOUNDATION HEALTHCARE, INC.,                                §      CASE NO. 17-42571-rfn-11
                                                            §      Lead Case
                           DEBTOR.                          §
                                                            §      Complex Case
----------------------------------------------------------- §      Jointly Administered

                                                            §
IN RE:                                                      §      CHAPTER 11
                                                            §
UNIVERSITY GENERAL HOSPITAL, LLC, §                                CASE NO. 17-42570
                                                            §
                           DEBTOR.                          §      Complex Case
                                                            §      Jointly Administered
----------------------------------------------------------- §      Under Lead Case
 

            NOTES REGARDING AMENDED SCHEDULES OF ASSETS AND
         LIABILITIES AND AMENDED STATEMENT OF FINANCIAL AFFAIRS

       On June 21, 2017 (the “Petition Date”), Foundation HealthCare, Inc., and University
General Hospital, LLC each filed voluntary petitions for relief under chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Northern District of Texas, Fort Worth Division (the “Bankruptcy Court”). The Debtors have
requested, and the Bankruptcy Court has so ordered, that their cases be jointly administered
under Case No. 17-42571.

        Since that date, with the assistance of its Bankruptcy Court approved advisors, the
Debtors determined certain changes should be made to the original Schedules of Assets and
Liabilities and the Statement of Financial Affairs, and prepared the annexed Amended Schedules


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of Assets and Liabilities (the “Schedules”) and the Amended Statement of Financial Affairs (the
“SOFAs” and together with the Schedules, the “Schedules and SOFAs”) pursuant to section 521
of the Bankruptcy Code and Rule 1007 of the Federal Rules of Bankruptcy Procedure. The
Schedules and SOFAs are unaudited and do not purport to represent financial statements
prepared in accordance with Generally Accepted Accounting Principles in the United States
(“GAAP”), and they are not intended to be fully reconciled to the financial statements. The
original Schedules and SOFAs were filed on July 6, 2017, at Docket Nos. 36 and 37 and Nos. 42
and 43, respectively.

Although the Debtors’ advisors and remaining officers, directors and contract employees have
made every reasonable effort to ensure that the Schedules and SOFAs are accurate and
complete based on information that was available to them at the time of preparation, subsequent
information or discovery may result in material changes to these Schedules and SOFAs, and
inadvertent errors or omissions may have occurred. Subsequent receipt of information or an
audit may result in material changes in financial data requiring amendment of the Schedules
and SOFAs. These notes regarding each of the Debtor’s Schedules and SOFAs (the “Notes”)
comprise an integral part of such Debtor’s Schedules and SOFAs and should be referenced in
connection with any review of the Schedules and SOFAs. Nothing contained in the Schedules
and SOFAs shall constitute a waiver of any rights or claims of the Debtor against any third
party, or in or with respect to any aspect of these chapter 11 cases.

       1.      Amendments. The Debtors reserve the right to amend or supplement the
 Schedules and SOFAs as necessary or appropriate.

         2.     Asset Presentation. Most assets and liabilities of the Debtors are shown on the
 basis of the book value in the respective Debtor’s books and records, as of December 31,
 2016, and not on the basis of current market values of such interest in property or liabilities;
 provided, however, that some adjustments have been made when the information was
 available subsequent thereto. In certain instances, where book value is known to be materially
 inaccurate, the Debtor listed some assets and liabilities as having an “unknown” value. The
 Debtors reserve their right to amend or adjust the value of each asset or liability set forth
 herein.

         3.      Liabilities. The Debtors sought to allocate liabilities between the prepetition
 and postpetition periods based on the information and research that was conducted in
 connection with the preparation of the Schedules and SOFAs. As additional information
 becomes available and further research is conducted, the allocation of liabilities between
 prepetition and postpetition periods may change. The Debtors also reserve the right to change
 the allocation of liability to the extent additional information becomes available.

         4.      Causes of Action. Despite reasonable efforts, the Debtors may not have
 identified or set forth all of its causes of action against third parties as assets in its Schedules
 and SOFAs. The Debtors reserve any and all of their rights with respect to any causes of
 action they each may have, and neither these Notes nor the Schedules and SOFAs shall be
 deemed a waiver of any such causes of action.




                                                  2
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         5.      Claim Description. Any failure to designate a claim on the Schedules or
 SOFAs as “disputed,” “contingent” or “unliquidated” does not constitute an admission by the
 respective Debtor that such claim is not “disputed,” “contingent” or “unliquidated.” The
 Debtors reserve the right to dispute, or to assert offsets or defenses to, any claim reflected on
 its Schedules and SOFAs as to amount, liability, priority, secured or unsecured status, or
 classification, or to otherwise designate any claim as “disputed,” “contingent” or
 “unliquidated” by filing and serving an appropriate amendment. The Debtors also reserve the
 right to amend their Schedules or SOFAs as necessary or appropriate.

       6.       Property and Equipment. The Debtors have not completed a physical inventory
of any of their owned equipment, merchandise or other physical assets and any information set
forth in the Schedules and SOFAs may be over or understated. Further, nothing in the
Schedules or SOFAs (including, without limitation, the failure to list leased property or
equipment as owned property or equipment) is or shall be construed as an admission as to the
determination of legal status of any lease (including whether any lease is a true lease or
financing arrangement), and the Debtors reserve all of their rights with respect to such issues.
Notwithstanding the foregoing, an inventory of supplies for UGH was conducted in December
2016.

         7.     Insurance. The Debtors have, in the past, maintained a variety of insurance
 policies including property, general liability, and workers’ compensation policies and other
 employee- related policies. The Debtors’ interest in these types of policies is limited to the
 amount of the premiums that the Debtor has prepaid, if any, as of Petition Date. To the best of
 each Debtor’s knowledge, no such prepayments exist. The Debtors do reserve all rights to
 refunds of any overpayments of premiums paid on any insurance policies.

        8.        Insiders. In the circumstances where the Bankruptcy Schedules require
information regarding insiders or officers and directors, included herein are the relevant Debtor’s
(a) directors (or persons in similar positions) and (b) officers. The listing of a party as an insider
is not intended to be nor should it be construed as a legal characterization of such party as an
insider and does not act as an admission of any fact, claim, right or defense and all such rights,
claims and defenses are hereby expressly reserved. Further, employees have been included in
this disclosure for informational purposes only and should not be deemed to be “insiders” in
terms of control of the Debtor, management responsibilities or functions, decision-making or
corporate authority or as otherwise defined by applicable law, including, without limitation, the
federal securities laws, or with respect to any theories of liability or for any other purpose.

       9.       Schedule A/B—Real and Personal Property. As of the Petition Date, certain
equipment and property was foreclosed upon, repossessed, or picked up by various parties.
While the Debtors have attempted to identify each such situation, that analysis is made
complicated by the fact that the UGH Debtor is no longer in possession of that leased premises.
To the extent any Debtor learns of a piece of property that has been subject to a repossession or
foreclosure impacting the listing in this schedule, such Debtor reserves the right to amend such
Schedule and SOFA reflecting same.




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        10.      Schedule D—Creditors Holding Secured Claims. Except as specifically stated
herein, real property lessors, utility companies and other parties which may hold security
deposits have not been listed on Schedule D. The Debtors have not included on Schedule D all
parties that may believe their claims are secured through setoff rights, deposits posted by, or on
behalf of, the Debtors, or inchoate statutory lien rights. While reasonable efforts have been
made, determination of the date upon which each claim in Schedule D was incurred or arose
would be unduly and cost prohibitive, and therefore, the Debtors may not list a date for each
claim listed on Schedule D.

         11.     Schedule F—Creditors Holding Unsecured Nonpriority Claims. The liabilities
identified in Schedule F are derived from the respective Debtor’s books and records, which may
or may not, in fact, be completely accurate, but they do represent a reasonable attempt by each
Debtor to set forth its unsecured obligations. Accordingly, the actual amount of claims against
each Debtor may vary from the represented liabilities. Parties in interest should not accept that
the listed liabilities necessarily reflect the correct amount of any unsecured creditor’s allowed
claims or the correct amount of all unsecured claims. Similarly, parties in interest should not
anticipate that recoveries in these cases will reflect the relationship of aggregate asset values
and aggregate liabilities set forth in the Schedules and SOFAs. Parties in interest should consult
their own professionals or advisors with respect to pursuing a claim. Although the Debtors and
their professionals have generated financials the Debtors believe to be reasonable, actual
liabilities (and assets) may deviate from the Schedules and SOFAs due to certain events that
may occur throughout the duration of these chapter 11 cases.

         12.    Schedule H – Codebtors. It is possible that some of the Debtors affiliates,
including one another in some instances, may be viewed by a particular creditor as being co-
obligors on such debt. However, none of those affiliates are viewed by the Debtors as having
any ability to pay those debts and many are owned in whole or in part by one of the Debtors,
FHI. Finally, it would be unduly burdensome and of relatively little to no value to the Debtors’
estates to attempt to delineate those co-obligors for each debt. Consequently, the Debtors have
not listed those as co-debtors on Schedule H.

        13.    Statement of Financial Affairs 19(d) – Financial Statements. The Debtors have
each undertaken reasonable efforts to identify all financial institutions, creditors and other
parties to whom a financial statement was issued within two years immediately preceding the
Petition Date. The Debtors reserve their rights to subsequently supplement or amend Statement
19d upon discovery of additional information.

       14.     Statement of Financial Affairs 4 and 30 – Payments within One Year to Insider.
The information available at the time of filing has been included; however, information
regarding stock options, redemptions, and potential loan reductions were unavailable and have
not been included.

        15.     Specific Notes. These General Notes are in addition to the specific notes set
forth in the individual Schedules and SOFAs. Disclosure of information in one Schedule,
SOFA, exhibit, or continuation sheet even if incorrectly placed, shall be deemed to be disclosed
in the correct Schedule, SOFA, exhibit or continuation sheet.


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        16.   Totals. All totals that are included in the Schedules represent totals of the
liquidated amounts for the individual schedule for which they are listed.

       17.    Unliquidated Claim Amounts. Claim amounts that could not be fairly quantified
by the Debtors are scheduled as “unliquidated” or “unknown.”

        18.     General Reservation of Rights. The Debtors specifically reserve the right to
amend, modify, supply, correct, change or alter any part of their Schedules and SOFAs as and
to the extent necessary as they each deem appropriate.




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 Fill in this information to identify the case:

 Debtor name            Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               17-42571-mxm11
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,729,772.85

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,729,772.85


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,250,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        1,149,739.16

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,661,197.54


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,060,936.70




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         17-42571-mxm11
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.         Cash on hand                                                                                                                            $886.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   Valliance Bank                                           Insurance Funding            7972                                    $52,125.55




            3.2.   Texas Capital Bank                                       Operating                    3512                                       $847.00




            3.3.   Texas Capital Bank                                       Accounts Payable             4114                                    $35,000.00




            3.4.   Bank SNB                                                 FBO                          7930                                    $23,528.30



 4.         Other cash equivalents (Identify all)


            4.1.   Gift Cards                                                                                                                     $1,091.04




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor            Foundation Healthcare, Inc.                                               Case number (If known) 17-42571-mxm11
                   Name


 5.         Total of Part 1.                                                                                                    $113,477.89
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                     Retainer
            7.1.     Ankura Consulting - Financial Advisors/Turnaround & Restructuring                                                  $51,087.19



                     Retainer
            7.2.     Spectrum Health Partners - Interim CFO                                                                             $24,000.00



                     Retainer
            7.3.     Donlin Recano - Noticing Agent                                                                                     $30,000.00



                     Retainer
            7.4.     Law Office of William Canon                                                                                          $1,000.00



                     Retainer
            7.5.     Suzy Hensley - Contract Labor, Legal Assistant                                                                         $950.00



                     Retainer
            7.6.     Robin Taylor - Contract Labor, Treasury Manager                                                                      $1,150.00



                     Retainer
            7.7.     Eide Baily - Tax Returns                                                                                           $50,000.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Rent - North Portland Holdings                                                                                     $15,866.00




 9.         Total of Part 2.                                                                                                    $174,053.19
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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 Debtor         Foundation Healthcare, Inc.                                                       Case number (If known) 17-42571-mxm11
                Name


           11a. 90 days old or less:                            170,155.00   -                                   0.00 = ....                  $170,155.00
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                               $170,155.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of         Valuation method used     Current value of
                                                                                 debtor's interest         for current value         debtor's interest
                                                                                 (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Servers                                                                              $1.00      Liquidation                                 $1.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                           $1.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 3
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 Debtor         Foundation Healthcare, Inc.                                                   Case number (If known) 17-42571-mxm11
                Name


             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Management Fee Buyout                                                    $236,085.77     Book                                $236,085.77



 65.        Goodwill

 66.        Total of Part 10.                                                                                                         $236,085.77
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         Foundation Healthcare, Inc.                                                  Case number (If known) 17-42571-mxm11
                Name

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Anticipated tax return                                                              Tax year 2016                      $1,700,000.00



 73.       Interests in insurance policies or annuities

           Argonaut Insurance Company - Tail on D&O                                                                                       Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Summit Management Contract                                                                                                  $336,000.00



           TSH Acquisition, LLC                                                                                                                 $0.00



           ApothecaryRx, LLC                                                                                                                    $0.00



           Ninety Nine Healthcare Management, LLC                                                                                               $0.00



           SDC Holdings, LLC                                                                                                                    $0.00



           Foundation Health Enterprises, LLC                                                                                                   $0.00



           Surveillance, The Motion Picture, LLC                                                                                                $0.00



           The Hunt, The Motion Picture, LLC                                                                                                    $0.00



           Fingerprint Productions, LLC                                                                                                         $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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 Debtor         Foundation Healthcare, Inc.                                                  Case number (If known) 17-42571-mxm11
                Name



           Soul's Midnight, LLC                                                                                                                 $0.00




 78.       Total of Part 11.                                                                                                   $2,036,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 6
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 Debtor          Foundation Healthcare, Inc.                                                                         Case number (If known) 17-42571-mxm11
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $113,477.89

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $174,053.19

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $170,155.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $1.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $236,085.77

 90. All other assets. Copy line 78, Part 11.                                                    +              $2,036,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,729,772.85            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,729,772.85




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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 Fill in this information to identify the case:

 Debtor name         Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         17-42571-mxm11
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      ApothecaryRx,                     PO Box 20709                                     Texas Capital Bank              D        2.1
             LLC                               Oklahoma City, OK 73156                                                           E/F
                                                                                                                                G



    2.2      Foundation                        PO Box 20709                                     Texas Capital Bank              D        2.1
             Hospital General                  Oklahoma City, OK 73156                                                           E/F
             of Houston,
                                                                                                                                G



    2.3      Foundation Surg.                  PO Box 20709                                     Texas Capital Bank              D        2.1
             Hosp. Gen. of                     Oklahoma City, OK 73156                                                           E/F
             Houston
                                                                                                                                G



    2.4      Foundation                        PO Box 20709                                     Texas Capital Bank              D        2.1
             Surgery Affiliates                Oklahoma City, OK 73156                                                           E/F
             LLC
                                                                                                                                G



    2.5      Foundation                        PO Box 20709                                     Texas Capital Bank              D        2.1
             Surgery                           Oklahoma City, OK 73156                                                           E/F
             Holdings, LLC
                                                                                                                                G




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 Debtor       Foundation Healthcare, Inc.                                               Case number (if known)   17-42571-mxm11


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgery                           Oklahoma City, OK 73156                                                    E/F
             Holdings, LLC
                                                                                                                         G



    2.7      Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgery Mgmt.                     Oklahoma City, OK 73156                                                    E/F
             LLC
                                                                                                                         G



    2.8      Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgery Mgmt.,                    Oklahoma City, OK 73156                                                    E/F
             LLC
                                                                                                                         G



    2.9      Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgical Hosp.                    Oklahoma City, OK 73156                                                    E/F
             Mgmt. LLC
                                                                                                                         G



    2.10     Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgical Hospital                 Oklahoma City, OK 73156                                                    E/F
             Aff. LLC
                                                                                                                         G



    2.11     Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgical Hospital                 Oklahoma City, OK 73156                                                    E/F
             Holdings
                                                                                                                         G



    2.12     Nocturna Sleep                    PO Box 20709                                  Texas Capital Bank          D        2.1
             Therapy GP, LLC                   Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G



    2.13     Nocturna Sleep                    PO Box 20709                                  Texas Capital Bank          D        2.1
             Therapy, LP                       Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G




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 Debtor       Foundation Healthcare, Inc.                                               Case number (if known)   17-42571-mxm11


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     SDC Holdings,                     PO Box 20709                                  Texas Capital Bank          D        2.1
             LLC                               Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G



    2.15     Sleep Disorder                    PO Box 20709                                  Texas Capital Bank          D        2.1
             Centers, LLC                      Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G



    2.16     SomniCare, Inc.                   PO Box 20709                                  Texas Capital Bank          D        2.1
                                               Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G



    2.17     Somnitech, Inc.                   PO Box 20709                                  Texas Capital Bank          D        2.1
                                               Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G



    2.18     TSH Acquisition,                  PO Box 20709                                  Texas Capital Bank          D        2.1
             LLC                               Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G




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